                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA



ANAS A. DOWL, inmate # 345639, and            )
ERNEST A. JACOBSSON, inmate # 403566,         )
                                              )
                                  Plaintiffs, )
      vs.                                     )
                                              )
DEAN WILLIAMS, Commissioner,                  )
Alaska Department of Corrections, et al.,     )
                                              )              No. 3:18-cv-0119-HRH
                                 Defendants. )
_______________________________________)



                                        JUDGMENT

       IT IS HEREBY ORDERED AND ADJUDGED:
       (1)     The Settlement Agreement,1 executed September 3, 2019, by counsel for the

parties, is approved.

       (2)     The parties shall proceed to execute the terms of their Settlement Agreement,

which terms are hereby adopted by the court as a full and complete resolution of all claims

by all parties to this case.

       (3)     Plaintiffs’ complaint as amended is dismissed with prejudice; however,
jurisdiction of this case is retained for purposes of enforcing the terms of the Settlement
Agreement.

       DATED at Anchorage, Alaska, this 6th day of September, 2019.


                                                  /s/ H. Russel Holland
                                                  United States District Judge

        1
         Docket No. 62-1.
JUDGMENT                                                                                  -1-

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